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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION

                                                                   Chapter 11
     In re:
                                                                   Case No. 25-40979-357
                                              1
     23ANDME HOLDING CO., et al.,                                  Jointly Administered

                                        Debtors.                   Hearing Date: June 3, 2025
                                                                   Hearing Time: 1:30 p.m. CDT
                                                                   Hearing Location: Courtroom 5 North
                                                                   Objection Deadline: May 27, 2025 at 4:00 p.m. CDT

                       APPLICATION OF THE OFFICIAL
               COMMITTEE OF UNSECURED CREDITORS FOR ENTRY
           OF AN ORDER AUTHORIZING THE EMPLOYMENT OF KELLEY
       DRYE & WARREN LLP AS LEAD COUNSEL EFFECTIVE AS OF APRIL 8, 2025

                      The Official Committee of Unsecured Creditors (the “Committee”) of 23andMe

 Holding Co., et al., the above-captioned debtors and debtors-in-possession (collectively, the

 “Debtors”), submits this application (the “Application”) for the entry of an order, substantially in

 the form attached hereto (the “Proposed Order”), authorizing the employment of Kelley Drye &

 Warren LLP (“Kelley Drye”) as lead counsel to the Committee effective as of April 8, 2025,

 pursuant to sections 327, 328(a), and 1103(a) of the Bankruptcy Code, Rule 2014 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2014-1 of the Local Rules of

 Bankruptcy Procedure of the United States Bankruptcy Court for the Eastern District of Missouri

 (the “Local Rules”), and the U.S. Trustee Guidelines (as defined below).




 1
              The Debtors in each of these cases are: 23andMe Holding Co., 23andMe, Inc., 23andMe Pharmacy Holdings,
              Inc., Lemonaid Community Pharmacy, Inc., Lemonaid Health, Inc., Lemonaid Pharmacy Holdings Inc.,
              LPharm CS LLC, LPharm INS LLC, LPharm RX LLC, LPRXOne LLC, LPRXThree LLC, and LPRXTwo
              LLC.



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                      In support of this Application, the Committee submits the Declaration of Jason R.

 Adams (the “Adams Declaration”), attached hereto as Exhibit A, and the Declaration of Whitney

 S. Grubb (the “Grubb Declaration”), the chairperson of the Committee, attached hereto as

 Exhibit B, both of which are incorporated herein by reference.                 In further support of this

 Application, the Committee respectfully represents as follows:

                                       JURISDICTION AND VENUE

                      1.      The United States Bankruptcy Court for the Eastern District of Missouri

 (the “Court”) has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334. A

 proceeding to consider and grant the Application is a core proceeding pursuant to 28 U.S.C.

 § 157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                     STATUTORY BASES FOR RELIEF

                      2.      The statutory predicates for the relief requested herein are sections 327, 328,

 330, and 1103 of the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Local Rules 2014,

 2016 and 9062. The relief requested is consistent with the U.S. Trustee Guidelines. Compensation

 sought will be in accordance with sections 330 and 331 of the Bankruptcy Code.

                                               BACKGROUND

                      3.      On March 23, 2025 (the “Petition Date”), each of the Debtors filed a

 voluntary petition under Chapter 11 of the Bankruptcy Code with this Court. Since the Petition

 Date, the Debtors have remained in possession of their assets and have continued to operate and

 manage their businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code.

                      4.      On April 3, 2025, the Office of the United States Trustee for Region 13

 (the “U.S. Trustee”) appointed a seven-member Committee consisting of: (i) Laboratory

 Corporation of America Holdings; (ii) Workday, Inc.; (iii) Telus International Services Limited;


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 (iv) Jellyfish US Limited; (v) Whitney S. Grubb; (vi) Pamela Zager-Maya; and (vii) Michelle

 Igoe.2

                      5.      On April 8, 2025, the Committee selected Kelley Drye as its lead counsel

 and Stinson LLP (“Stinson”) as co-counsel. On April 10, 2025, the Committee selected FTI

 Consulting Inc. (“FTI”) as its financial advisor.

                                           RELIEF REQUESTED

                      6.      By this Application, the Committee requests entry of the Proposed Order

 approving the employment of Kelley Drye effective as of April 8, 2025, which is the date on which

 the Committee selected Kelley Drye to serve as lead counsel and the date on which Kelley Drye

 began rendering services to the Committee. Subject to the terms set forth herein, the Committee

 seeks to employ Kelley Drye in accordance with Kelley Drye’s normal hourly rates in effect when

 services are rendered and normal reimbursement policies subject to Bankruptcy Rule 2016 and

 Local Rule 2016 and any other applicable procedures and orders of the Court.

                      THE EMPLOYMENT OF KELLEY DRYE IS WARRANTED

                      7.      Kelley Drye possesses extensive knowledge and expertise in the substantive

 areas of law relevant to these chapter 11 cases and is well-qualified to represent the Committee.

 In selecting counsel, the Committee sought attorneys with experience representing the interests of

 unsecured creditors in chapter 11 cases of this nature. Kelley Drye has represented unsecured

 creditors’ committees in numerous other chapter 11 cases. Kelley Drye also has a broad-based

 practice in other key areas of law relevant to these chapter 11 cases. The Committee, therefore,

 believes that Kelley Drye is well qualified to serve as its counsel in these chapter 11 cases.




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                      8.       In addition, by separate applications filed contemporaneously herewith, the

 Committee also seeks to employ (i) Stinson as co-counsel; and (ii) FTI as financial advisor.

 I.       Scope of Services

                      9.       Kelley Drye has and will render, among other things, the following legal

 services to the Committee:

                      (a)      advise the Committee with respect to its rights, duties and powers in
                               these chapter 11 cases;

                      (b)      assist and advise the Committee in its consultations with the Debtors
                               and in connection with the administration of these chapter 11 cases,
                               the sale and plan processes, and the ultimate disposition of the
                               Debtors’ estates;

                      (c)      advise and represent the Committee in connection with matters
                               generally arising in these cases, including the Debtors’ motions to
                               (i) obtain DIP financing; and (ii) sell substantially all of their assets;

                      (d)      assist and advise the Committee on the various data privacy and
                               security issues implicated by the filing of the chapter 11 cases and
                               the proposed sale or transfer of the Debtors’ assets;

                      (e)      Interface with various federal agencies, State Attorneys’ General
                               and the Consumer Privacy Ombudsman appointed in these chapter
                               11 cases to address privacy, security and sale issues;

                      (f)      assist the Committee in its investigation of the acts, conduct, assets,
                               liabilities, and financial condition of the Debtors;

                      (g)      Participate in negotiations regarding, and reconciliation of, claims
                               arising from prepetition data breach, Pixel and other litigation
                               claims;

                      (h)      Investigate and preserve estate claims and causes of action against
                               current and former Debtor insiders and quantify potential claims that
                               may be implicated by the Debtors’ sale process;

                      (i)      appear before this Court, and any other federal or state courts;

                      (j)      prepare, on behalf of the Committee, any pleadings, including
                               motions, memoranda, complaints, objections, and responses to
                               matters arising in these cases; and




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                      (k)      perform such other legal services as may be required or are
                               otherwise deemed to be in the interests of the Committee in
                               accordance with the Committee’s powers and duties as set forth in
                               the Bankruptcy Code, Bankruptcy Rules, or other applicable law.

                      10.      Kelley Drye will coordinate with other estate professionals, including

 Stinson, FTI, and the Debtors’ professionals, to avoid duplication of efforts. Kelley Drye In

 particular, Kelley Drye will divide legal work related to these cases with Stinson to avoid

 duplicative efforts and preserve estate resources.

 II.      Kelley Drye’s Disinterestedness and Disclosures

                      11.      As more fully set forth in the Adams Declaration, Kelley Drye ran the

 Debtors’ list of interested persons and entities involved in these chapter 11 cases, which is attached

 as Schedule 1 to the Adams Declaration, through Kelley Drye’s conflict system, consistent with

 the U.S. Trustee’s requirements. Kelley Drye does not represent, or have any connection with,

 any of the parties in interest listed on Schedule 1, subject to the disclosures regarding

 representations in unrelated matters set forth on Schedule 2 to the Adams Declaration. Kelley

 Drye does not and will not represent any such party in any matter related to the Debtors. The

 Committee has waived any conflict of interest that exists or may exist due to Kelley Drye’s prior

 representation of such party in matters unrelated to the Debtors.

                      12.      The Committee does not believe Kelley Drye’s representation of such

 entities or their affiliates in unrelated matters will impair Kelley Drye’s ability to represent the

 Committee in these chapter 11 cases. The Committee has been informed that Kelley Drye will

 conduct an ongoing review of its files to ensure that no disqualifying circumstances arise. To the

 extent that Kelley Drye discovers a connection with any party or enters into any new relationship

 with any interested party that was otherwise required to be disclosed in this Application, Kelley

 Drye will promptly supplement its disclosure to the Court. Kelley Drye will not, while employed



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 by the Committee, represent any entity having an adverse interest in connection with these chapter

 11 cases.

                      13.      Based on the Adams Declaration, the Committee submits that Kelley Drye

 is a “disinterested person” as that term is defined in section 101(14) of the Bankruptcy Code, and

 neither represents nor holds an interest adverse to the interest of the Committee, the Debtors, or

 their estates with respect to the matters on which Kelley Drye is to be employed.

 III.     Professional Compensation

                      14.      The Committee requests that all legal fees and related costs and expenses

 incurred by the Committee on account of services rendered by Kelley Drye in these cases be paid

 as administrative expenses of the Debtors’ estates pursuant to sections 328, 330(a), 331, 503(b),

 and 507(a) of the Bankruptcy Code.

                      15.      Kelley Drye intends to apply to this Court for allowance of compensation

 and reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy

 Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

 the Court for all services performed and expenses incurred since April 8, 2025.

                      16.      Kelley Drye’s current standard hourly rates for attorneys are set forth below.

 The rates of the primary attorneys working on this matter are set forth in the Adams Declaration.

                                       Title                  2025 Rates
                                Partners                     $855 - $1,635
                                Special Counsel              $545 - $1,060
                                Associates                    $565 - $985
                                Paraprofessionals             $350 - $450

                      17.      Kelley Drye has advised the Committee that the hourly rates are subject to

 annual increases in the normal course of Kelley Drye’s business. In the event of any such increase,

 Kelley Drye will provide the U.S. Trustee and the Committee with notice of any such increase and




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 file a supplemental affidavit (a “Supplemental Affidavit”) with the Court. Any Supplemental

 Affidavit will explain the basis for the requested rate increase in accordance with section

 330(a)(3)(F) of the Bankruptcy Code. Pursuant to section B(2)(d) of the U.S. Trustee Guidelines,

 Kelley Drye will provide justification of the reasonableness of any rate increase.

                      18.      The hourly rates set forth above are the firm’s standard hourly rates for work

 of this nature. The firm’s standard rates are set at a level designed to compensate the firm fairly

 for the work of its attorneys and paralegals and to cover fixed overhead expenses.

                      19.      Kelley Drye will charge for expenses in a manner and at rates consistent

 with charges made to its other clients and the U.S. Trustee Guidelines, and in accordance with the

 Bankruptcy Rules, the Local Rules and any other applicable procedures and orders of the Court.

 Such expenses include, among other things, long-distance telephone, fax (outgoing only) not

 exceeding $0.25 per page, mail and express mail charges, special or hand delivery charges,

 photocopying charges at the rate of $0.10 per page for black and white and $0.80 for color copies,

 travel expenses, expenses for computerized research, and transcription costs.

 IV.      Statement Regarding U.S. Trustee Guidelines

                      20.      In 2013, the Executive Office for the United States Trustee (“EOUST”)

 adopted the Guidelines for Reviewing Applications for Compensation and Reimbursement of

 Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of

 November 1, 2013 (the “Appendix B Guidelines”). By their terms, the Appendix B Guidelines

 “apply to the U.S. Trustee’s review of applications for compensation filed by attorneys in larger

 chapter 11 cases,” and are intended as an update to the original Guidelines for Reviewing

 Applications for Compensation Filed Under 11 U.S.C. § 330 (the “Appendix A Guidelines” and,

 together with the Appendix B Guidelines, the “U.S. Trustee Guidelines”) adopted by the EOUST




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 in 1996. The Committee and Kelley Drye will make a reasonable effort to comply with the U.S.

 Trustee’s requests for information and additional disclosures as set forth in the U.S. Trustee

 Guidelines, both in connection with this Application and the fee applications to be filed by Kelley

 Drye.

                      21.      The Committee requests approval of the employment of Kelley Drye

 effective as of April 8, 2025. Such relief is warranted by the circumstances presented by these

 chapter 11 cases. The Committee’s selection of Kelley Drye on April 8, 2025 necessitated that

 Kelley Drye immediately commence work on time-sensitive matters and promptly devote

 substantial resources to these chapter 11 cases pending submission and approval of this

 Application.

                      22.      No prior application for the relief requested herein has been presented to

 this Court or any other court.

                                                    NOTICE

                      23.      Notice of this Application has been provided to the following parties:

 (a) counsel to the Debtors; (b) the Debtors’ authorized claims and noticing agent, Kroll

 Restructuring Administration LLC; (c) the U.S. Trustee; (d) JMB Capital Partners Lending, LLC,

 the lender under the Debtors’ postpetition financing facility, along with its counsel; (e) the holders

 of the 30 largest unsecured claims against the Debtors (on a consolidated basis); (f) the law firms

 representing plaintiffs who have filed or asserted claims arising out of the Cyber Security Incident

 as of the Petition Date; (g) the United States Attorney’s Office for the Eastern District of Missouri;

 (h) the Internal Revenue Service; (i) the Securities and Exchange Commission; (j) the state

 attorneys general in all 50 states; and (k) any party that has requested notice pursuant to Bankruptcy

 Rule 2002. Because of the nature of the relief requested, the Committee respectfully submits that

 no further notice of the Application is necessary or required.


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                                              CONCLUSION

                WHEREFORE, the Committee requests that the Court enter the Proposed Order:

 (i) authorizing the Committee to employ Kelley Drye as lead counsel effective as of April 8, 2025;

 (ii) authorizing payment of such compensation to Kelley Drye as may be allowed by this Court;

 and (iii) granting such other and further relief as the Court may deem just and proper.



 Dated: May 5, 2025

                                         Respectfully submitted,

                                         THE OFFICIAL COMMITTEE OF UNSECURED
                                         CREDITORS OF 23ANDME HOLDING CO., et al.

                                         By:
                                         Chairperson of the Official Committee of Unsecured
                                         Creditors of 23andMe Holding Co., et al.3




 3
        Under the Bylaws of the Official Committee of Unsecured Creditors of 23andMe Holding Co., et al., Whitney
        S. Grubb, as Chairperson of the Committee, has authority to sign documents on behalf of the Committee as
        appropriate to implement decisions of the Committee made in accordance with the Bylaws.



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                                         EXHIBIT A

                            DECLARATION OF JASON R. ADAMS




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                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF MISSOURI


     In re:                                                          Chapter 11

     23ANDME HOLDING CO., et al.,1                                   Case No. 25-40979-357

                                         Debtors.                    Jointly Administered



                                    DECLARATION OF JASON R. ADAMS

                      I, Jason R. Adams, hereby declare that the following statements are true and correct

 to the best of my knowledge after due inquiry as described herein:

                      1.       I am a partner of the law firm of Kelley Drye & Warren LLP (“Kelley

 Drye”), which maintains offices at 3 World Trade Center, 175 Greenwich Street, New York, New

 York 10007. I am an attorney admitted to practice law in New York.

                      2.       I am familiar with the matters set forth herein and make this declaration in

 support of the Application of the Official Committee of Unsecured Creditors for Entry of an Order

 Authorizing the Employment of Kelley Drye & Warren LLP as Lead Counsel Effective as of

 April 8, 2025 (the “Application”).2




 1
              The Debtors in each of these cases are: 23andMe Holding Co., 23andMe, Inc., 23andMe Pharmacy Holdings,
              Inc., Lemonaid Community Pharmacy, Inc., Lemonaid Health, Inc., Lemonaid Pharmacy Holdings Inc.,
              LPharm CS LLC, LPharm INS LLC, LPharm RX LLC, LPRXOne LLC, LPRXThree LLC, and LPRXTwo
              LLC.
 2
              Capitalized terms used but not otherwise defined in this declaration have the meanings ascribed to them in
              the Application.



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                      3.      On April 3, 2025, the Office of the United States Trustee for Region 13

 appointed a seven-member committee (the “Committee”) consisting of: (i) Laboratory Corporation

 of America Holdings; (ii) Workday, Inc.; (iii) Telus International Services Limited; (iv) Jellyfish

 US Limited; (v) Whitney S. Grubb; (vi) Pamela Zager-Maya; and (vii) Michelle Igoe.3

                      4.      On April 8, 2025, the Committee selected Kelley Drye as its lead counsel

 and Stinson LLP (“Stinson”) as co-counsel.

                      5.      Kelley Drye began rendering services to the Committee immediately

 following its selection by the Committee.

                             KELLEY DRYE’S DISCLOSURE PROCEDURES

                      6.      To prepare this declaration, I, or someone under my supervision, took the

 Debtors’ list of interested persons and entities involved in these chapter 11 cases (the “Search

 List”), which is attached hereto as Schedule 1, and compared it with the information contained in

 the conflict systems and indexes of adverse parties currently maintained by Kelley Drye

 (the “Conflict System”).

                      7.      The Conflict System is designed to include every matter on which the firm

 is now or has been engaged since 1993, sorted by the entity which has engaged the firm and, in

 each instance, listing the identity of the clients, related parties and adverse parties, and the attorneys

 in the firm who are knowledgeable about each matter. It is Kelley Drye’s policy that a new matter

 may be opened within the firm only after completing and submitting to those charged with

 maintaining the Conflict System the information necessary to check each such matter for conflicts,

 including the identity of the prospective client and related adverse parties. Kelley Drye maintains




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 and updates the Conflict System in the regular course of the firm’s business, and it is the regular

 practice of the firm to maintain these records.

                      8.       Further, an email was sent to each attorney of Kelley Drye to determine if

 any attorney (a) has a connection to (i) the Debtors, or (ii) current and former officers and directors

 of the Debtors; or (b) is a relative of (i) any of the Judges or the Clerk of the United States

 Bankruptcy Court for the Eastern District of Missouri, or (ii) the personnel of the Office of the

 United States Trustee for the Eastern District of Missouri.

                            KELLEY DRYE’S CONNECTIONS WITH
                       PARTIES IN INTEREST IN THESE CHAPTER 11 CASES

                      9.       I, or a person under my supervision, reviewed the Conflict System results

 for the Search List to determine whether Kelley Drye has an adverse interest to the Debtors’

 estates. Kelley Drye ran the names of all parties in interest on the Search List through its Conflict

 System, and Kelley Drye does not represent, or have any other connection with, any of the parties

 in interest listed on the Search List, subject to the disclosures set forth herein on Schedule 2, which

 is incorporated herein by reference.

                      10.      The Committee is aware that Kelley Drye has previously represented or

 currently represents certain creditors or parties in interest and/or their affiliates in matters unrelated

 to the Debtors and these chapter 11 cases.

                      11.      I believe the connections disclosed on Schedule 2 do not affect Kelley

 Drye’s representation of the Committee in these chapter 11 cases. Kelley Drye’s representation

 of the parties disclosed on Schedule 2 in prior and unrelated matters does not comprise a material

 component of Kelley Drye’s practice, nor does Kelley Drye currently represent the parties on any

 issue relating to the Debtors and these chapter 11 cases.




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                      12.      In response to the email sent internally as described in paragraph 8 above,

 an associate in Kelley Drye’s Real Estate practice group advised that they own seven shares of

 23andMe common stock. This attorney has not, and will not, represent the Committee and will do

 no work related to these chapter 11 cases.

                      13.      Kelley Drye does not represent the Debtors or any of their affiliates,

 partners, or subsidiaries in these chapter 11 cases, and Kelley Drye will not undertake the

 representation of the Debtors or any related entities during this engagement.

                      14.      Kelley Drye will not, while employed by the Committee, represent any

 other entity having an adverse interest in connection with these chapter 11 cases.

                      15.      Except as otherwise disclosed herein, insofar as I have been able to

 ascertain, neither I, Kelley Drye, nor any Kelley Drye attorney:

                               (a)    is a creditor, a material equity security holder, or insider of the
                                      Debtors;

                               (b)    is, or was within two years before the date of the filing of the
                                      petitions, a director, officer, or employee of the Debtors; or

                               (c)    has an interest materially adverse to the interests of the estates or of
                                      any class of creditors or equity security holders, by reason of any
                                      direct or indirect relationship to, connection with or interest in the
                                      Debtors or for any other reason.

                      16.      Insofar as I have been able to ascertain, subject to the disclosures on

 Schedule 2 and as set forth herein, no attorney of Kelley Drye has any connection with the Debtors,

 the Debtors’ officers and directors, the Debtors’ creditors, the Debtors’ equity security holders,

 and other known parties in interest or their attorneys and financial advisors, or the members of the

 Committee. To the best of my knowledge formed after reasonable inquiry, neither I, nor any

 attorney of Kelley Drye is related to the bankruptcy judge assigned to these chapter 11 cases.




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                      17.      Based upon the information available to me, Kelley Drye is a “disinterested

 person” as that term is defined in section 101(14) of the Bankruptcy Code, and neither represents

 nor holds an interest adverse to the interests of the Committee, the Debtors, or their estates with

 respect to the matters on which Kelley Drye is to be employed. To the extent Kelley Drye

 discovers any connection with any party or enters into any new relationship with any party that

 would otherwise have had to have been disclosed in this Application, Kelley Drye will promptly

 supplement its disclosures to the Court.

                        KELLEY DRYE’S RATES AND BILLING PRACTICES

                      18.      No promises have been received by Kelley Drye or any Kelley Drye

 attorney as to payment or compensation in connection with these chapter 11 cases. Kelley Drye

 has no agreement with any other entity to share with such entity any compensation received by

 Kelley Drye or by such entity.

                      19.      Kelley Drye intends to apply to this Court for allowance of compensation

 and reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy

 Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

 the Court for all services performed and expenses incurred since April 8, 2025.

                      20.      My hourly billing rate as of January 1, 2025 is $1,150, and the hourly rates

 of the other Kelley Drye attorneys currently expected to be principally responsible for rendering

 services to the Committee in this case are: Eric R. Wilson ($1,280); Alysa Z. Hutnik ($1,005);

 Maeghan J. McLoughlin ($1,045); Richard Gage ($1,045); Steven Yachik ($785); John Churchill

 ($735); Paul Laudiero ($735); Madeleine Ostertag ($605); Tamara Zapata ($565); and Rachel

 Forman ($565). Kelley Drye’s current standard hourly rates for its attorneys are set forth below:




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                                       Title                 2025 Rates
                                Partners                    $855 - $1,635
                                Special Counsel             $545 - $1,060
                                Associates                   $565 - $985
                                Paraprofessionals            $350 - $450

                      21.      Kelley Drye has advised the Committee that the hourly rates are subject to

 annual increases in the normal course of Kelley Drye’s business. In the event of any increase,

 Kelley Drye will provide the U.S. Trustee and the Committee with notice of any such increase and

 file a supplemental affidavit (a “Supplemental Affidavit”) with the Court. Any Supplemental

 Affidavit will explain the basis for the requested rate increase in accordance with section

 330(a)(3)(F) of the Bankruptcy Code. Pursuant to section B(2)(d) of the U.S. Trustee Guidelines,

 Kelley Drye will provide justification of the reasonableness of any rate increase.

                      22.      The Application requests, pursuant to section 327, 328(a), 1103, 330, and

 331 of the Bankruptcy Code, approval of the Committee’s employment of Kelley Drye as lead

 counsel. The hourly rates set forth above and in the Application are the firm’s standard hourly

 rates for work of this nature. The firm’s standard rates are set at a level designed to compensate

 the firm fairly for the work of its attorneys and paralegals and to cover fixed overhead expenses.

                      23.      Kelley Drye will charge for expenses in a manner and at rates consistent

 with charges made to its other clients and the U.S. Trustee Guidelines, and in accordance with the

 Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court. Such

 expenses include, among other things, long-distance telephone, fax (outgoing only) not exceeding

 $0.25 per page, mail and express mail charges, special or hand delivery charges, photocopying

 charges at the rate of $0.10 per page for black and white and $0.80 for color copies, travel expenses,

 expenses for computerized research, and transcription costs.




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                      STATEMENT REGARDING U.S. TRUSTEE GUIDELINES

                      24.      In 2013, the Executive Office for the United States Trustee (the “EOUST”)

 adopted the Guidelines for Reviewing Applications for Compensation and Reimbursement of

 Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of

 November 1, 2013 (the “Appendix B Guidelines”). By their terms, the Appendix B Guidelines

 “apply to the U.S. Trustee’s review of applications for compensation filed by attorneys in larger

 chapter 11 cases,” and are intended as an update to the original Appendix A Guidelines adopted

 by the EOUST in 1996. Kelley Drye will comply with the U.S. Trustee’s requests for information

 and additional disclosures as set forth in the U.S. Trustee’s Guidelines, both in connection with

 the Application and any fee applications to be filed by Kelley Drye in these chapter 11 cases.

           ATTORNEY STATEMENT PURSUANT TO APPENDIX B GUIDELINES

                      25.      The following is provided in response to the request for additional

 information set forth in ¶ D.1 of the Appendix B Guidelines.

                      Question:       Did you agree to any variations from, or alternatives to, your
                                      standard or customary billing arrangements for this engagement?
                      Answer:         No.
                      Question:       Do any of the professionals included in this engagement vary their
                                      rate based on the geographic location of the bankruptcy case?
                      Answer:         No.
                      Question:       If you represented the client in the 12 months prepetition, disclose
                                      your billing rates and material financial terms for the prepetition
                                      engagement, including any adjustments the 12 months prepetition.
                                      If your billing rates and material financial terms have changed post-
                                      petition, explain the difference and the reasons for the difference.
                      Answer:         Kelley Drye did not represent the Committee in the 12 months
                                      prepetition. Kelley Drye has represented other committees in the
                                      12 months prepetition in other bankruptcy cases.
                      Question:       Has your client approved your prospective budget and staffing plan
                                      and, if so, for what budget period.
                      Answer:         Yes, for the period of April 8, 2025, through June 30, 2025.



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                      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the forgoing

 is true and correct to the best of my knowledge and belief.

 Executed on May 5, 2025
                                                           /s/ Jason R. Adams
                                                           Jason R. Adams




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                                          SCHEDULE 1

                                          List of Schedules

 Schedule        Category

 1(a)             Debtors
 1(b)             (Financial Advisor to) Potential Buyer
 1(c)             (Legal Counsel to) Potential Buyer
 1(d)             Bankruptcy Judges/Staff
 1(e)             Bankruptcy Professionals – Retained
 1(f)             Banks/Lender/UCC Lien Parties/Administrative Agents
 1(g)             Counsel Representing Cyber Security Incident Claimants
 1(h)             Customers
 1(i)             Director/Officer
 1(j)             Insurance Providers
 1(k)             Known Affiliates – JV
 1(l)             Landlords/ Subtenants
 1(m)             Letter of Credit- Beneficiary
 1(n)             Litigation
 1(o)             Potential Buyer
 1(p)             Regulators
 1(q)             Significant Equity Holders
 1(r)             U.S. Trustee Office
 1(s)             Vendors (Top 85% of Accounts Payable)




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                                      SCHEDULE 1(a)
                                           Debtors

     23 and Me
     23andMe Holding Co.
     23andMe Inc.
     23andme Pharmacy Holdings, Inc.
     Lemonaid Community Pharmacy
     Lemonaid Health Inc.
     Lemonaid Pharmacy Holdings, Inc.
     Lpharm Cs LLC
     Lpharm Ins LLC
     Lpharm Rx LLC
     Lprxone, LLC
     Lprxthree LLC
     Lprxtwo, LLC




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                                         SCHEDULE 1(b)
                                (Financial Advisor To) Potential Buyer

 JPMorgan Securities LLC
 TD Cowen




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                                       SCHEDULE 1(c)
                                (Legal Counsel To) Potential Buyer

 Ropes and Gray LLC
 Skadden, Arps, Slate, Meaegher & Flom
 LLP




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                                       SCHEDULE 1(d)
                                     Bankruptcy Judges/Staff

     Catherine Norwood
     Chicquita Greene-Hester
     Chief Judge Bonnie L. Clair
     Courtney Kirbis
     Hayley Koontz
     Judge Brian C. Walsh
     Judge Kathy A. Surratt-States
     Kaila Spivey
     Taylor Rowland




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                                       SCHEDULE 1(e)
                                Bankruptcy Professionals - Retained


 Alvarez & Marsal North America, LLC
 Carmody Macdonald P.C.
 Deloitte Tax LLP
 Goodwin Procter LLP
 Kroll Restructuring Administration LLC
 Lewis Rice LLC
 Moelis & Company LLC
 Paul, Weiss, Rifkind, Wharton & Garrison LLP




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                                      SCHEDULE 1(f)
                      Banks/Lender/UCC Lien Parties/Administrative Agents

     Cardinal Health 110 LLC, “As Agent”
     JPMorgan Chase Bank N.A.
     JPMorgan Chase Bank N.A. - Toronto Branch
     Smith Drug Company-Division of JM Smith Corp.
     U.S. Bank Equipment Finance
     U.S. Bank National Association




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                                       SCHEDULE 1(g)
                      Counsel Representing Cyber Security Incident Claimants

 Aron Law Firm                                      Mason LLP
 Aylstock, Witkin, Kreis, & Overholtz PLLC          Mcshane & Brady, LLC
 Barnow & Associates P.C.                           Milberg Coleman Bryson Phillips Grossman
 Berman Tobacco                                     Milberg Coleman Bryson Phillips Grossman
 Boni, Zack & Snyder LLC                            LLC
 Bottini & Bottini, Inc.                            Neal & Harwell
 Bradley/Grombacher LLP                             Pierce Gore Law Firm
 Clarkson Law Firm                                  Potter Handy LLP
 Clayeo C. Arnold, Professional Law Corp.           Poulin | Willey | Anastopoulo, LLC
 Cole & Van Note                                    Reese LLP
 Cotchett Pitre & Mccarthy LLP                      Robbins Geller Rudman & Dowd, LLP
 Cuneo Gilbert & Laduca                             Saltz, Mongeluzzi & Bendesky, PC
 Du Vernet Stewart                                  Schubert Jonckheer & Kolbe LLP
 Edelsberg Law, P.A.                                Scott+Scott Attorneys At Law LLP
 Employee Justice Legal Group, Pc                   Srourian Law Firm, P.C.
 Falls Law Group                                    The Grant Law Firm, PLLC
 Federman & Sherwood                                The Mehdi Firm LLP
 Freed Kanner London & Millen LLC                   Tostrud Law Group PC
 Glancy Prongay & Murray LLP                        Tycko & Zavareei
 Gustafson Gluek PLLC                               Tycko & Zavareei, LLP
 Herman Jones LLP                                   Wolf Haldenstein Adler Freeman & Herz
 Kantrowitz, Goldhamer & Graifman, P.C.             LLP
 Kaplan Fox & Kilsheimer LLP                        Wucetich & Korovilas LLP
 Kazerouni Law Group                                Yanni Law
 Kleine PC                                          Zinns Law, LLC
 Kopelitz Ostrow Ferguson Weiselberg
 Gilbert
 KP Law Ltd. (Uk)
 Labaton Keller
 Laukaitis Law LLC
 Law Office of Courtney Weiner PLLC
 Law Offices of Paul Whalen, PC
 Levi & Korsinsky
 Levin Sedran & Berman LLP
 Lexington Law Group, LLP
 Lieff Cabraser Heimann & Bernstein And
 Robbins Geller
 Lockridge Grindal Nauen P.L.L.P.
 Loftus & Eisenberg, Ltd.
 Longman Law, P.C.
 Lynch Carpenter LLP



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                                      SCHEDULE 1(h)
                                          Customers

 Abbvie Inc.
 Amazon
 Amazon: Amazon Ca
 Amazon: Amazon UK
 Amazon: Woot
 Cardinal Health, Inc.
 Coreweave, Inc.
 Glaxosmithkline & Glaxosmithkline LLC
 Gsk
 Michael J Fox Foundation : Mjff Pd
 Myheritage
 Sanofi Us Services Inc.
 Walmart.com




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                                      SCHEDULE 1(i)
                                       Director/Officer


 Andre Fernandez
 Avi Factor
 Eland Siddle
 Guy Chayoun
 Jim Frankola
 Joe Selsavage
 Mark Jensen
 Thomas Walper




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                                      SCHEDULE 1(j)
                                      Insurance Providers

 AIG Financial Lines Claims
 Allied World Specialty Insurance Company
 Arch Specialty Insurance Company
 Axis Insurance
 Beazley USA Services, Inc
 Berkley Life Sciences
 Berkley Professional Liability
 Chubb Group
 Chubb Group of Insurance Co
 CNA Claims Reporting
 Commercial Management Liability
 Great American Insurance Company
 HCC Global Financial Products, Llc.
 Hiscox Usa
 Hudson Insurance Company
 Lloyd’s America, Inc.
 Old Republic Professional Liability, Inc.
 Resilience Cyber Insurance Solutions
 The Hartford Financial Lines
 The Travelers Companies, Inc.
 Trium Cyber Us Services, Inc.
 Woodruff Sawyer
 Xl Professional Insurance




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                                      SCHEDULE 1(k)
                                     Known Affiliates – JV

 LMND CA
 LMND KS
 LMND NJ
 LMND TX




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                                      SCHEDULE 1(l)
                                     Landlords/ Subtenants


 KR OP Tech, LLC
 Oyster Point Tech Center LLC A Delaware Limited Liability Company




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                                     SCHEDULE 1(m)
                                  Letter of Credit- Beneficiary

 221 N Mathilda, LLC, A Delaware Limited Liability Company
 Paypal, Inc




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                                      SCHEDULE 1(n)
                                          Litigation

 Adriane Farmer                                   Laquisha Smith
 Alex Velarde                                     Leena Yousefi Ylaw Group
 Alexandra Hoffman                                Levi + Korsinsky LLP
 Almeida Law Group LLC                            Luis Valladares
 Alyson Hu                                        Marjorie Morgenstern
 Andez Jones                                      Matthew A. Smith
 Antoinette Powell                                Matthew Marden
 Bonnie Eden                                      Max Alperstein
 Brandon Molina                                   Mcguire Law, P.C.
 Briana Dube                                      Melanie Berman
 Brianna Sorensen                                 Melissa Ryan
 Camie Picha                                      Michael Schutz
 Caroline Greenberg                               Michele Bacus
 Carolyn Rock                                     Michelle Andrizzi
 Casey Gerry Schenk Francavilla Blatt &           Michelle Igoe
 Penfield, LLP                                    Migliaccio & Rathod LLP
 Christina Shaw                                   Milberg Coleman Bryson Phillips Grossman
 Christopher Du Vernet Carlin Mcgoogan            PLC
 Duvernet                                         Monica Santana
 Stewart, Barristers and Soliciters               Neil Benedict
 Claire Paddy                                     Nicholas Furia
 David Melvin                                     Nichole Friend
 David Tulchinsky                                 Patrick Capstick
 Dhaman Gill                                      Polina Ioffe
 Edelson PC                                       Potter Handy, Llp
 Elaine Fralix                                    Richard Roe
 Erik Stanford                                    Rudy K. Thompson
 Falls Law Group                                  Sarah Cantu
 Haris Mirza                                      Stephen L. Seikel
 Harold Garrett                                   Steve Siegel Hanson LLP
 Harold Velez                                     Thomas Vickery
 John Diaz                                        Tracy Scott
 Julie Macmillan                                  Trisha Wilkus
 Kathy Vasquez                                    Tyrell Brown
 Katianne Navarro
 Keller Rohrback L.L.P.
 Kerry Lamons
 Knd Complex Litigation
 Kp Law Limited
 Kristen Rivers
 Labaton Keller Sucharow LLP



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                                      SCHEDULE 1(o)
                                        Potential Buyer

 New Mountain Capital, LLC




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                                      SCHEDULE 1(p)
                                          Regulators

 Agencia Española De Protección De Datos
 Bureau of Consumer Protection
 Federal Trade Commission
 Office of Attorney General Todd Rokita
 Office of the Attorney General – Connecticut
 Office of the Privacy Commissioner of Canada
 United Kingdom Information Commissioner’s Office




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                                      SCHEDULE 1(q)
                                   Significant Equity Holders

 ABEEC 2.0, LLC
 Anne Wojcicki
 Zentree Investments Limited




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                                      SCHEDULE 1(r)
                                      U.S. Trustee Office

 Paul Randolph




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                                      SCHEDULE 1(s)
                            Vendors (Top 85% of Accounts Payable)

     ACCO Engineered Systems                         Kilroy Realty, LP
     Aganitha Ai Inc.                                KPMG LLP
     Alixpartners, LLC                               L.E.K. Consulting LLC
     Allied Universal Security Services              Lifebit Biotech Limited
     Alom Technologies Corporation                   Mark E. Jensen
     Amazon Web Services                             Medpace Inc.
     Andre John Fernandez                            Meta Platforms, Inc.
     Bdo Usa LLP                                     Metropolitan Life Insurance Company
     Blue Shield Of California                       Moelis & Company, LLC
     Braintree                                       Morgan, Lewis & Bockius LLP
     Catalent Cts Singapore Private Limited          Movianto
     CSW Direct LLC                                  National Genetics Institute
     Cloudflare, Inc.                                Pacific Gas And Electric Company
     Coalition For Genetic Data Protection           Partnerize
     Inc.                                            Peter M Lefkowitz
     Consulting, JW LLC                              Power Digital Marketing, Inc.
     Converge Technology Solutions US,               Precision For Medicine, Inc.
     LLC                                             Priti Patel Consulting LLC
     Dechert LLP                                     Rain The Growth Agency
     Deloitte & Touche LLP                           Right Side Up LLC
     Deloitte Consulting LLP                         Salesforce.Com
     Delta Dental Of California                      Santa Clara County Tax Collector
     DNA Genotek Inc.                                Scale Strategy Operations LLC
     Egon Zehnder International, Inc                 SCG Grove 221, LLC
     Fedex Corp                                      Steadymd, Inc.
     Folk Devils LLC                                 Surefox North American
     Fooda, Inc.                                     Tango Card, Inc.
     Fulgent Therapeutics, LLC                       Tatari, Inc.
     Glaxosmithkline Intellectual Property           Tcwglobal (Wmbe Payrolling Inc.)
     Ltd.                                            Telus International Services Limited
     Goodwin Procter LLP                             Unum Life Insurance Company Of
     Google, Inc. - Adwords                          America
     Greenberg Traurig LLP                           Ventana Medical Systems, Inc.
     Healthline Media Inc                            Wilson Sonsini Goodrich & Rosati,
     Iheartmedia + Entertainment                     Professional Corporation
     Illumina, Inc.                                  Woodruff-Sawyer & Co.
     Integral Rx                                     Woot Services LLC
     Jellyfish US Limited                            World Archives
     Kaiser Foundation Health Plan Northern          Wuxi Biologics (Hong Kong) Limited
     CA                                              Zendesk, Inc
     Katie Couric Media, LLC



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                                            SCHEDULE 2

              DISCLOSURES TO KELLEY DRYE’S RETENTION APPLICATION

 Kelley Drye currently represents or has represented the following creditors, parties-in-interest
 and/or their affiliates on various matters wholly unrelated to the Debtors. In each of the three years
 prior to the Petition Date, such matters have accounted for the percentage indicated below of
 Kelley Drye’s collected revenue.


                                                             2022 % of       2023 % of        2024 % of
                          Relationship        Years of
         Party                                                Revenue         Revenue          Revenue
                         to Kelley Drye    Representation
                                                             Collected       Collected        Collected
   Allied World
                           Affiliate of
 Specialty Insurance                       2006 – Present      <0.01%           0.01%           0.01%
                          Current Client
     Company

Converge Technology        Affiliate of
                                           2021 – Present      0.02%            0.00%           0.00%
 Solutions US, LLC        Current Client

    Egon Zehnder
                          Current Client   2019 – Present      <0.01%           0.01%          <0.01%
  International, Inc

  JP Morgan Chase
                          Current Client   2015 – Present      0.38%            0.27%           0.15%
       Bank


  Kilroy Realty, LP       Current Client   2020 – Present      0.00%            0.01%          <0.01%


     KPMG LLP             Current Client   2015 – Present      0.06%            0.05%           0.07%


 Meta Platforms Inc.      Current Client   2020 – Present      0.40%            0.17%           0.03%


  Metropolitan Life
                          Former Client     2009 – 2023        <0.01%           0.01%            N/A
 Insurance Company

   Michael J Fox
                          Former Client     2023 – 2024         N/A             0.01%           0.00%
Foundation: MJFF PD

 National Genetics         Affiliate of
                                           2006 – Present      1.38%            1.07%           0.94%
     Institute            Current Client

   New Mountain            Affiliate of
                                           2023 – Present       N/A             0.00%          <0.01%
    Capital, LLC          Current Client




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                                                           2022 % of   2023 % of    2024 % of
                         Relationship        Years of
         Party                                              Revenue     Revenue      Revenue
                        to Kelley Drye    Representation
                                                           Collected   Collected    Collected

     Paypal, Inc.        Current Client   2024 – Present     N/A         N/A          0.04%


   Salesforce.com        Current Client   2013 – Present    0.17%       0.08%         0.05%


 U.S. Bank National
                         Current Client   2008 – Present    1.25%       0.20%         0.44%
    Association

Unum Life Insurance       Affiliate of
                                          2016 – Present    0.02%       <0.01%        0.00%
Company of America       Current Client

                          Affiliate of
    Walmart.com                           2007 – Present    0.43%       0.77%         0.11%
                         Current Client

 Wells Fargo Bank,
    N.A. (n/k/a          Current Client   2021 – Present    0.41%       0.42%         0.67%
  Computershare)

Wilmington Savings
                         Current Client   2014 – Present    0.00%       0.00%        <0.01%
Fund Society, FSB




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                                         EXHIBIT B

                          DECLARATION OF WHITNEY S. GRUBB




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                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF MISSOURI


     In re:                                                        Chapter 11

     23ANDME HOLDING CO., et al.,1                                 Case No. 25-40979-357

                                         Debtors.                  Jointly Administered



                                 DECLARATION OF WHITNEY S. GRUBB

                      I, Whitney S. Grubb, hereby declare that the following statements are true and

 correct to the best of my knowledge after due inquiry as described herein.

                      1.       I am over the age of 21 and I serve as the Chairperson of the Committee. I

 am competent to make this declaration in support of the Application of the Official Committee of

 Unsecured Creditors for Entry of an Order Authorizing the Employment of Kelley Drye & Warren

 LLP as Lead Counsel Effective as of April 8, 2025 (the “Application”) filed contemporaneously

 herewith.2

                      2.       This declaration is provided pursuant to ¶ D.2 of the Guidelines for

 Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.

 § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013 (the “Appendix

 B Guidelines”), which “apply to the U.S. Trustee’s review of applications for compensation filed

 by attorneys in larger chapter 11 cases,” and are intended as an update to the original Guidelines

 for Reviewing Applications for Compensation Filed Under 11 U.S.C. § 330 adopted by the



 1
              The Debtors in each of these cases are: 23andMe Holding Co., 23andMe, Inc., 23andMe Pharmacy Holdings,
              Inc., Lemonaid Community Pharmacy, Inc., Lemonaid Health, Inc., Lemonaid Pharmacy Holdings Inc.,
              LPharm CS LLC, LPharm INS LLC, LPharm RX LLC, LPRXOne LLC, LPRXThree LLC, and LPRXTwo
              LLC.
 2
              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
              Application.



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 Executive Office for the United States Trustee (“EOUST”) in 1996. I am informed by counsel

 that the Appendix B Guidelines request that any application for employment of an attorney under

 11 U.S.C. §§ 327 and 1103 be accompanied by a verified statement from the client that addresses

 the following:

                      (a)      The identity and position of the person making the verification.

                      (b)      The steps taken by the client to ensure that the applicant’s billing rates and
                               material terms for the engagement are comparable to the applicant’s billing
                               rates and terms for other non-bankruptcy engagements and to the billing
                               rates and terms of other comparably skilled professionals.

                      (c)      The number of firms the client interviewed.

                      (d)      If the billing rates are not comparable to the applicant’s billing rates for
                               other non-bankruptcy engagements and to the billing rates of other
                               comparably skilled professionals, then the circumstances warranting the
                               retention of that firm.

                      (e)      The procedures the client has established to supervise the applicant’s fees
                               and expenses and to manage costs. If the procedure for the budgeting,
                               review and approval of fees and expenses differ from those the regularly
                               employs in non-bankruptcy cases to supervise outside general counsel,
                               explain how and why. In addition, describe any efforts to negotiate rates,
                               including rates for routine matters, or in the alternative to delegate such
                               matters to less expensive counsel.

 A.       Identity of the Declarant

                      3.       On April 3, 2025, I was appointed to the Committee and was subsequently

 selected to serve as Chairperson of the Committee. Under the Bylaws of the Official Committee

 of Unsecured Creditors, the Chairperson of the Committee has the authority to sign documents on

 behalf of, and to bind, the Committee as appropriate to implement decisions of the Committee

 made in accordance with the Bylaws.

                      4.       I was involved in the Committee’s decision to retain Kelley Drye on April 8,

 2025 as the Committee’s lead counsel in these chapter 11 cases and participated in negotiating the

 terms of Kelley Drye’s employment together with the other members of the Committee.


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 B.       Steps Taken to Ensure Comparability of Engagement Terms

                      5.      I have confirmed with Kelley Drye that, while Kelley Drye’s billing rates

 vary from attorney to attorney based on such facts as the attorney’s seniority and position with the

 firm (e.g., partner, counsel, or associate), years of experience, and the demand for services in the

 attorney’s particular area of expertise, their billing rates do not vary as a function of whether the

 services performed relate to a bankruptcy engagement or a non-bankruptcy engagement.

                      6.      The Committee has been informed that Kelley Drye endeavors to set the

 hourly rates for its attorneys and paraprofessionals at levels competitive to those charged by firms

 with which it competes.

 C.       Number of Firms Interviewed

                      7.      Kelley Drye was one of six firms to interview for the engagement. In

 connection with Kelley Drye’s interview, the Committee evaluated the breadth of Kelley Drye’s

 experience and particular areas of expertise, the firms’ prior history of representing committees in

 chapter 11 cases, and the attorneys to be assigned to this matter.

 D.       Other Circumstances Warranting Retention of Kelley Drye

                      8.      The Committee has determined that Kelley Drye’s attorneys’ billing rates

 are set each year to ensure that their rates are in line with or lower than the billing rates of other

 comparably skilled professionals at law firms in Kelley Drye’s peer group. This, coupled with

 Kelley Drye’s previous experience as committee counsel in numerous chapter 11 cases, makes

 Kelley Drye the appropriate choice for lead Committee counsel in these chapter 11 cases.




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 E.       Procedures Established to Supervise Fees and Expenses and Manage Costs

                      9.       I understand that Kelley Drye’s fees and expenses (i) will be subject to

 review, comment, and objection (if warranted), and Court approval; and (ii) will be subject to the

 periodic review on an interim and final basis during the course of these chapter 11 cases by the

 United States Trustee (the “U.S. Trustee”) and the Debtors, as well as by the Committee.

                      10.      During these chapter 11 cases, the Committee will monitor Kelley Drye’s

 interim fee applications to ensure that the fees and expenses requested therein are reasonable in

 nature and correspond to necessary or beneficial services rendered on behalf of the Committee.

 Kelley Drye may amend and supplement its budget and staffing plan as the cases develop to reflect

 changed circumstances or unanticipated developments and will alert the Committee to those

 changed circumstances and unanticipated developments in a timely fashion. To the extent the

 Committee has an objection to the fees and expenses requested by Kelley Drye in any interim fee

 statement that cannot be resolved to the Committee’s satisfaction informally, Kelley Drye has

 informed me that they will file a notice of objection on the Committee’s behalf. In so doing, I

 understand that Kelley Drye reserves all rights to contest any such objection raised to the allowance

 or payment of its requested fees and expenses, and the Committee reserves the right to retain

 conflicts counsel to prosecute any such objection to the extent it cannot be resolved informally by

 the parties.

                      11.      Nothing contained herein is intended to limit Kelley Drye’s ability to

 request allowance and payment of fees and expenses pursuant to sections 330 and 331 of the

 Bankruptcy Code, nor to restrict Kelley Drye’s right to defend any objection raised to the

 allowance or payment of such fees.              Moreover, nothing herein is intended to restrict the

 Committee’s right to retain conflicts counsel to prosecute any such fee objection to the extent the



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 objection is not resolved informally by the parties or is raised by another party in interest, such as

 the U.S. Trustee.

 F.       Other Matters

                      12.      Kelley Drye’s hourly rates are subject to annual adjustments in January of

 each year to reflect economic and other conditions. I have been advised by counsel that, pursuant

 to ABA Formal Ethics Opinion 11-458, “periodic, incremental increases in a lawyer’s regular

 hourly billing rates are generally permissible if such practice is communicated clearly to and

 accepted by the client at the commencement of the client-lawyer relationship and any periodic

 increases are reasonable under the circumstances.” I have also been specifically advised by

 counsel that, pursuant to ABA Formal Ethics Opinion 11-458, “the client need not agree to pay

 the modified fee to have the lawyer continue the representation.” Kelley Drye disclosed to the

 Committee its rates in effect as of January 1, 2025. To the extent Kelley Drye seeks to make any

 adjustments to its rate structure, the Committee expressly reserves the right to reject any such

 modification.




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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.

 Executed on May 5, 2025


                                                       Whitney S. Grubb




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